         Case 5:22-cv-01492-NC Document 12 Filed 06/24/22 Page 1 of 2      FILED
                                                                               Jun 24 2022

                                                                          Mark B. Busby
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                    UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
                          SAN JOSE DIVISION


  MAHSA KAMALI MOGHADDAM, Civil Action No. 5:22-cv-01492-NC
  Plaintiff,              (ECF)

  v.

  ANTONY BLINKEN, et al.                  ORDER
  Defendants.

 Upon consideration of Parties’ Stipulation for Dismissal, it is hereby:

       ORDERED that this action shall be dismissed,

       SO ORDERED this 24th day of June, 2022.                    ATE
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                                             The Honorable Nathanael M.
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                                             Cousins, UnitedN States       OF
                                                              D I S T I CDistrict
                                                                     R T          Judge
 LIST OF NAMES AND ADDRESSES OF ALL ATTORNEYS ENTITLED
           TO BE NOTIFIED OF THE ORDER’S ENTRY




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         Case 5:22-cv-01492-NC Document 12 Filed 06/24/22 Page 2 of 2




The following attorneys are entitled to be notified of the entry of this Order:

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